






MEMORANDUM OPINION



No. 04-06-00448-CR

Gary HAACK,

Appellant
v.
The STATE of Texas,

Appellee
From the 379th Judicial District Court, Bexar County , Texas

Trial Court No. 2005-CR-0724

Honorable Bert Rich ardson, Judge Presiding





PER CURIAM

            

Sitting: Sandee Bryan Marion , Justice

  Phylis J. Speedlin, Justice

  Rebecca Simmons, Justice



Delivered and Filed: September 20, 2006



DISMISSED



 Pursuant to a plea bargain agreement, appellant, Gary Haack, pled guilty to aggravated sexual assault of a child.  On June
13, 2006, the trial court imposed sentence and signed a certification of defendant's right to appeal stating that this "is a
plea-bargain case, and the defendant has NO right of appeal."  See Tex. R. App. P. 25.2(a)(2).  After appellant filed his
notice of appeal, the court clerk sent copies of the certification and notice of appeal to this court.  See Tex. R. App. P.
25.2(e). 

 Appellant filed a general pro se notice of appeal.  See Tex. R. App. P. 25.2(a)(2) (in a plea bargain case, a defendant may
appeal only those matters raised in a written motion ruled on before trial or after obtaining the trial court's permission to
appeal).  The clerk's record contains a written plea bargain agreement, and the punishment assessed did not exceed the
punishment recommended by the State and agreed to by the appellant; therefore, the trial court's certification accurately
reflects that appellant's case is a plea bargain case and he does not have a right of appeal.  See  Tex. R. App. P. 25.2(a)(2). 
Rule 25.2(d) provides, "The appeal must be dismissed if a certification that shows the defendant has the right of appeal has
not been made part of the record under these rules."  Tex. R. App. P. 25.2(d).  Accordingly, on July 25, 2006, this court
issued an order stating this appeal would be dismissed pursuant to Rule 25.2(d) unless an amended trial court certification
that shows appellant has the right of appeal was made part of the appellate record.  See Daniels v. State,110 S.W.3d 174
(Tex. App.--San Antonio 2003, order); Tex. R. App. P. 25.2(d); 37.1.  No amended trial court certification has been filed;
therefore, this appeal is dismissed.



PER CURIAM

   

DO NOT PUBLISH



 




